  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.3 Page 1 of 19




Andrew W. Stavros (8615)
STAVROS LAW P.C.
8915 South 700 East, Suite 202
Sandy, Utah 84070
Tel: (801) 758-7604
Fax: (801) 893-3573
andy@stavroslaw.com

       Attorney for Plaintiff


                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


 RANDY T. CHAPPELL, an individual,                               COMPLAINT

        Plaintiff,                                               (Jury Demand)

 vs.

 SKYWEST AIRLINES, INC., a Utah                     Case No.
 corporation, MARK RICHARD, an
 individual, JUSTIN REBER, an individual,           Judge:
 and TODD EMERSON, an individual,

         Defendants.


       Plaintiff, Randy Chappell (“Plaintiff” or “Chappell”), by and through his counsel of

record, hereby submits this Complaint against Defendants SkyWest Airlines, Inc. (“Defendant”

or “SkyWest”), Mark Richard, Justin Reber, and Todd Emerson (collectively, “Defendants”),

and for causes of action alleges as follows:

                          PARTIES, JURISDICTION AND VENUE

       1.      At all times relevant to this Complaint, Plaintiff Randy Chappell was a resident of

the State of Utah.

       2.      At all times relevant to this Complaint, Plaintiff was an employee of SkyWest.



                                                1
  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.4 Page 2 of 19




       3.      Defendant SkyWest is a Utah corporation doing business in Washington County,

state of Utah, with its principal place of business located at 444 South River Road, St. George,

Utah, 84790.

       4.      At all times relevant to this Complaint, SkyWest was an employer (or covered

entity, as applicable) as defined by the ADA, 42 U.S.C. § 12111(5), as well as an employer

under the federal claims set forth herein.

       5.      Defendant Mark Richard is an individual who resides in Washington County,

state of Utah. At all times relevant hereto, Richard worked as an employee of SkyWest.

       6.      Defendant Justin Reber, on information and belief, is an individual who resides in

Utah. At all times relevant hereto, Reber worked as an employee of SkyWest.

       7.      Defendant Todd Emerson, on information and belief, is an individual who resides

in Utah. At all times relevant hereto, Reber worked as an employee of SkyWest.

       8.      Jurisdiction is proper before this Court pursuant to 28 U.S.C. § 1343(a)(4) in that

this Complaint asserts various causes of action under federal law, as more fully set forth herein.

       9.      Venue is proper before this Court (Central Division, Southern Region) pursuant to

28 U.S.C. § 1391(b), insofar as the claims arose in Washington County, Utah, SkyWest

employed Chappell in Washington County, Utah, the individual defendants worked in

Washington County, Utah, and the records relating to the employment referenced herein were

kept in Washington County, Utah.

       10.     Chappell timely filed a charge of discrimination with the Utah Labor

Commission, Antidiscrimination and Labor Division (“UALD”) and Equal Employment

Opportunity Commission (“EEOC”) alleging discrimination based on disability and age, and




                                                 2
  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.5 Page 3 of 19




retaliation for opposing the discrimination, and received a Notice of Right to Sue from the EEOC

dated June 14, 2021.

       11.     This action is brought within ninety (90) days of Chappell’s receipt of the Notice

of Right to Sue from the EEOC.

       12.     Accordingly, all exhaustion requirements have been satisfied by Chappell.

                                 FACTUAL BACKGROUND

       13.     Chappell was hired by SkyWest as a Pilot on or about April 16, 1990. Chappell

was later promoted to a Captain position with SkyWest.

       14.     Chappell is over the age of forty (40) and has a son who is disabled within the

meaning of the Americans with Disabilities Act, as amended (“ADA”). See 42 U.S.C. §

12102(1).

       15.     Chappell’s son was diagnosed with a condition that limits his major life activities

and major bodily functions, in that it impacts his circulatory and cardiovascular systems.

       16.     At a young age, Chappell’s son was diagnosed with chronic diabetes. He is forced

to take costly daily medications to constantly monitor the symptoms of his disability, as well as

have regular visits with a medical provider and other necessary forms of treatment.

       17.     As a part of Chappell’s employment with SkyWest, he was offered group health

plan benefits for his family and SkyWest was responsible to pay for most if not all the costs

associated with health benefits used by Chappell and/or his family, subject to the payment of co-

pays and deductibles.

       18.     Accordingly, as a part of the group health plan, SkyWest covered the costs

associated with the diabetic medications Chappell’s son required, as well as any medical claims

for services rendered due to his son’s condition.



                                                    3
  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.6 Page 4 of 19




          19.   Shortly after Chappell’s termination, but while still covered by SkyWest’s health

plan, Chappell’s wife was hospitalized resulting in a claim of approximately $26,000.00, which

SkyWest failed to cover.

          20.   Based on the foregoing, SkyWest took adverse actions against Chappell to

remove him for their health coverage because he exercised his right to the health benefits he was

offered and eligible for by SkyWest, including benefits for his family.

          21.   The adverse actions include, but are not limited to, subjecting him to an

unwarranted investigation and terminating him from his position.

          22.   Chappell is also over the age of forty (40) and is a protected individual within the

meaning of the Age Discrimination in Employment Act of 1967 (“ADEA”). See, 29 U.S.C. §

631(a).

          23.   Chappell worked for SkyWest for approximately thirty (30) years and had an

impeccable work history and performance record while employed.

          24.   Specifically, Chappell never received any disciplinary actions throughout his

employment and was regularly commended for his performance, regularly exceeded

expectations, and worked tirelessly to ensure passenger safety.

          25.   As a Captain, Chappell was not required to personally inspect aircrafts; that duty

was delegated to the First Officer pursuant to SkyWest procedures and practices.

          26.   Chappell flew, captained, maintained, and ensured the safety of hundreds if not

thousands of flights, without incident, throughout his employment with SkyWest.

          27.   Despite his exemplary record, in or about March 2020, Chappell was subjected to

false allegations and differential treatment which ultimately resulted in his termination.




                                                  4
  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.7 Page 5 of 19




       28.     On or about March 24, 2020, Chappell was conducting a routine flight with First

Officer, Justin Reber.

       29.     Unbeknownst to Chappell, part of the aircraft rolled off the road leading to the

runway and onto gravel prior to take-off (the “Occurrence”).

       30.     The ground crew is to alert the pilot/captain of any impending dangers and/or

obstacles that the aircraft may encounter. However, during the Occurrence the ground crew and

other personnel failed to alert or inform Chappell or First Officer Reber of any hazards, or of the

fact that part of the aircraft had rolled through gravel.

       31.     If there is an Occurrence, ground crew are required to alert the pilots of the

Occurrence and/or contact flight control; here, they did neither.

       32.     In fact, Chappell was not made aware of the Occurrence until the following day

when he was contacted by Mark Richard, Chief Pilot for SkyWest.

       33.     As a result of the Occurrence, Chappell was subjected to investigation by both

SkyWest and the Federal Aviation Administration (“FAA”). Following its investigation, the

FAA cleared Plaintiff and First Officer Reber of any wrongdoing. However, Chappell was

terminated by SkyWest on April 24, 2020.

       34.     Chappell and First Officer Reber both filed independent Incident Occurrence

Reports (“IORs”), which both indicated that neither pilot was aware of any irregularity during

the flight that occurred on March 24, 2020.

       35.     According to text messages from First Officer Reber to Plaintiff only two days

after the Occurrence, Reber informed Plaintiff that Chief Pilot Richard had informed First

Officer Reber not to discuss the matter with Chappell. Chief Pilot Richard had no

communication with Chappell at this time.



                                                   5
  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.8 Page 6 of 19




       36.     As a part of SkyWest’s policies, each person involved in an investigation should

be interviewed by separate Review Boards, however, both Chappell and First Officer Reber were

given the same Review Board.

       37.     On information and belief, during the investigative process, First Officer Reber

met extensively with Chief Pilot Richard and SkyWest’s in-house counsel, Todd Emerson, to

discuss the Occurrence and his testimony before the Review Board.

       38.     The Review Board interviewed both First Officer Reber and Chappell and found

that Chappell was cleared of any wrongdoing.

       39.     Agent Charles Reed from the FAA was also assigned to investigate the

Occurrence.

       40.     Agent Reed individually interviewed Chappell and First Officer Reber. Chappell

and First Officer Reber’s statements were nearly identical, and Reed concluded that Chappell

had engaged in no wrongdoing.

       41.     As a result, Chappell was reinstated as an employee of SkyWest on or about June

16, 2020.

       42.     Based upon Agent Reed’s findings, the SkyWest ground crew was responsible for

the Occurrence as they did not immediately notify the pilots of the Occurrence, which

endangered the flight crew, passengers, and the aircraft – which was leased by Delta Airlines,

thus further clearing Chappell from any wrongdoing.

       43.     On information and belief, despite Chappell being cleared of any wrongdoing by

both the Review Board and the FAA, First Officer Reber continued consulting at length with

Chief Pilot Richard and Mr. Emerson.




                                                6
  Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.9 Page 7 of 19




       44.     Shortly thereafter, First Officer Reber testified before the Review Board and

changed his recount of the occurrence. Contrary to his IOR and prior statements to both the

Review Board and the FAA, First Officer Reber claimed that Chappell was aware of the

Occurrence but chose to ignore it, placing the lives of himself, First Officer Reber, the flight

crew and passengers in danger.

       45.     Chappell was then interviewed a second time by the Review Board, and during

the interview Chappell was played a recording of First Officer Reber’s revised statement.

       46.     After listening to the recording and being acquaintances with First Officer Reber

for approximately ten (10) years, it was evident to Chappell that Reber’s statement was scripted

and false, and, on information and belief, compelled by SkyWest, including Emerson and

Richard.

       47.     Nonetheless, SkyWest terminated Chappell from his position on or about August

5, 2020, for allegedly “failing to inspect [the] aircraft after the [occurrence] on March 24, 2020,

and violating SP150 and SP3006” by allegedly providing the SkyWest Review Board with “false

and misleading testimony, which subverted the mission of the Review Board.”

       48.     After Chappell’s first review board and after Chappell was terminated a second

time, Chappell had a conversion with Emerson. In response to Chappell’s request for documents

to support his appeal, Emerson informed Chappell that SkyWest believed from the day of the

Occurrence that Chappell and First Officer Reber were aware of the incident and that SkyWest

did not care why or how it happened.

       49.     Absent the negligence of the SkyWest ground crew, there would have been no

Occurrence, or Chappell would have been informed of the Occurrence and taken the necessary




                                                  7
 Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.10 Page 8 of 19




steps to ensure the safety of the aircraft, as he had done thousands of times as a pilot for

SkyWest.

       50.     Additionally, without the newly fabricated information provided by First Officer

Reber to the Review Board, SkyWest would have had no basis to terminate and likely would not

have terminated Chappell.

       51.     It is also important to note that First Officer Reber was also acting as a pilot on

the flight when the incident occurred and had at least the same obligation to report the alleged

Occurrence. Reber, however, was not terminated for his participation and/or inaction of

preventing the Occurrence, or for his inconsistent statements during the investigation. First

Officer Reber is a much younger male employee of SkyWest, and thus paid less and treated in a

manner different than Chappell. On information and belief, he and/or his family members are not

disabled and have not availed themselves of the same use of SkyWest’s group health plan as

Chappell.

       52.     In rendering its decision to terminate Chappell, SkyWest failed to take into

consideration all aspects of its investigation, including the findings of Agent Reed (FAA), the

IORs from both Chappell and First Officer Reber, as well as the first interviews taken by the

Review Board for both First Officer Reber and Chappell.

       53.     Additionally, no members of the ground crew were held accountable for their

participation and/or inaction related to the Occurrence, even though they were found responsible

for the incident by both the Review Board and the FAA, prior to First Officer Reber’s recanted

and altered second statement.

       54.     SkyWest’s disparate treatment of Chappell, its failure to follow its own policies

and procedures, and, on information and belief, its efforts to get Reber to change his testimony



                                                  8
 Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.11 Page 9 of 19




were motivated by its discriminatory animus toward Chappell because of his age and/or his

association with persons with disabilities and their need for the health coverage offered to him by

SkyWest under its group health plan.

       55.     Specifically, but for Chappell’s age, association with members of his family who

had disabilities and need for health care benefits covered by SkyWest’s group health care plan,

Chappell would not have been terminated.

       56.     According to SkyWest’s Pilot Policy Manual, pilots will only be terminated for

“severe infractions,” which includes “failure to correct any performance or behavioral issue.”

       57.     Based on Chappell’s history with SkyWest, he was never consulted, informed of,

or given any formal counseling statements, letters of correction, warnings or time off without pay

for disciplinary action, and as such, the reasons proffered for his termination are false, fabricated

and made with intent to discriminate and retaliate against Chappell due to his age, association

with a disabled person, and/or for exercising his right to the health benefits he was eligible as per

the terms of his employment.

                                 FIRST CAUSE OF ACTION
             (Discrimination in Violation of the ADA Against Defendant SkyWest)

       58.     The preceding paragraphs are incorporated herein by reference.

       59.     At all times relevant hereto, Chappell was an employee of SkyWest as defined in

§12111(4) of the ADA.

       60.     At all times relevant hereto, SkyWest was a covered entity as defined in

§12111(2) of the ADA, as well as an employer under §12111(5).

       61.     Chappell was associated with an individual who is disabled within the meaning of

the ADA in that his son had a disability, a record of disability and/or was regarded as having a




                                                  9
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.12 Page 10 of 19




disability that substantially limited major life activities within the meaning of the ADA, 42

U.S.C. § 12102(1).

        62.     At all times relevant hereto, Chappell was qualified to perform the essential

functions of his job and did in fact perform the essential functions of his job with SkyWest.

        63.     The ADA, as amended, prohibits covered entities from discriminating against

qualified individuals because of disability, 42 U.S.C. § 12112(a).

        64.     Under the ADA, discrimination against a qualified individual on the basis of

disability includes prohibits “excluding or otherwise denying equal jobs or benefits to a qualified

individual because of the known disability of an individual with whom the qualified individual is

known to have a relationship or association.” See 42 U.S.C. § 12112(b)(4).

        65.     SkyWest knew Chappell had a relationship and/or was associated with an

individual with a disability when he applied for health benefits under SkyWest’s health plan,

used the plan to reimburse for claims and costs associated with Chappell’s son’s disability and

wife’s hospitalization.

        66.     SkyWest discriminated against and terminated Chappell’s employment because of

his association and relationship with an individual(s) with a disability.

        67.     As a result, Chappell suffered significant damages, including the loss of pay and

benefits, and other employment related compensation he lost because of SkyWest’s unlawful

termination, including the loss of front and back pay and benefits of employment.

        68.     Because of SkyWest’s actions, Chappell is also entitled to recover compensatory

damages in an amount to be proven at trial, including non-pecuniary losses for emotional

distress, pain and suffering, humiliation, and related damages, in an amount to be determined by

the trier of fact, plus attorney’s fees and costs incurred in bringing this action.



                                                  10
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.13 Page 11 of 19




       69.      SkyWest’s conduct toward Chappell was willful and malicious and manifested a

knowing and reckless indifference toward, and disregard of, Chappell’s interests and rights,

entitling Chappell to an award of punitive damages in an amount to be proved at trial.

                                SECOND CAUSE OF ACTION
             (Discrimination in Violation of the ADEA Against Defendant SkyWest)

       70.      The preceding paragraphs are incorporated herein by reference.

       71.      At all times relevant hereto, Chappell was an employee of SkyWest within the

meaning of the ADEA, 29 U.S.C. § 630(f).

       72.      At all times relevant hereto, SkyWest was an employer within the meaning of the

ADEA, 29 U.S.C. § 630(b), (c), and (d).

       73.      At all times relevant hereto, Chappell was a protected individual, as defined by

and within the meaning of the ADEA 29 U.S.C. § 631(a) in that he was over forty (40) years of

age.

       74.      At all times relevant hereto, SkyWest was Chappell’s employer within the

meaning of the ADEA, 29 U.S.C. § 630(b), and could not “limit, segregate, or classify…

employees in any way which would deprive or tend to deprive any individual of employment

opportunities or otherwise adversely affect his status as an employee, because of such

individual’s age,” pursuant to the meaning of 29 U.S.C. § 623(a)(2).

       75.      SkyWest knew of Chappell’s age and discriminated against him because of his

age, including subjecting him to an unwarranted investigation and adverse action by terminating

him from his employment.

       76.      As a result of SkyWest’s unlawful discrimination against Chappell because of his

age, Chappell suffered damages and is entitled to recover damages for lost wages and other




                                                11
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.14 Page 12 of 19




benefits, including front and back pay, plus attorney’s fees and costs incurred in bringing this

action, and such further and additional relief as may be available.

       77.     In addition, Chappell is entitled to an award of liquidated damages because of

SkyWest’s willful violation of the ADEA in that it knew or should have known it was violating

Chappell’s rights and/or acted in reckless disregard for its violation of Chappell’s ADEA rights.

                                THIRD CAUSE OF ACTION
                 (Violation of Section 510 of ERISA Against All Defendants)

       78.     The preceding paragraphs are incorporated herein by reference.

       79.     During his employment Chappell received health benefits from SkyWest which

benefits were covered by the Employee Retirement Income Security Act of 1974, 29 U.S.C. §

1001 et. seq. (“ERISA”).

       80.     Specifically, the group health plan offered to Chappell by SkyWest was a welfare

benefit plan established or maintained by SkyWest that provide welfare benefits, i.e., medical

benefits, disability benefits, and death benefits. See, 29 U.S.C. § 1002(1).

       81.     Section 510 of ERISA, 29 U.S.C. § 1140, prohibits SkyWest from interfering or

otherwise retaliating against Chappell for exercising his protected rights under the plan which it

established and allowed Chappell to participate in, including discriminating against Chappell for

exercising any rights he is entitled to under the plan, or for the purpose of interfering with the

attainment of any rights they may later become entitled to under the plan.

       82.     While employed by SkyWest, Chappell was entitled to receive and did receive

group health benefits under an employer sponsored plan governed by ERISA, including

specifically health benefits offered through SkyWest’s employer sponsored health plan that

existed during Chappell’s employment.




                                                 12
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.15 Page 13 of 19




       83.     Chappell’s termination of employment was for the purpose of interfering with his

respective and continued use of such plan benefits, including the benefits he needed for the

health issues and serious health conditions identified above, and/or retaliating against him for the

previous use of such plan benefits during his employment, including for his spouse and son.

       84.     In taking the adverse actions against Chappell – including terminating his

employment – SkyWest was motivated by a desire and intent to violate ERISA and to interfere

and/or retaliate against Chappell’s ERISA rights, and SkyWest’s actions were causally connected

to Chappell’s use of his group health plan benefits and/or continued use of such benefits.

       85.     For example, on information and belief, SkyWest was concerned about the

possibility of rising health insurance premiums and that it believed that Chappell’s family’s

continued use of such plan benefits would drive up costs.

       86.     Additionally, in addition to the timing of Chappell’s termination, the stated

reasons for his termination were demonstrably false and/or unworthy of credence, demonstrating

that the employer’s stated justification for his termination is false or unworthy of credence.

       87.     As a direct and proximate result of SkyWest’s unlawful actions, Chappell is

entitled to restitution and an award of back pay in an amount to be determined at trial, benefits

costs incurred by him, attorney’s fees, and costs, and such further equitable relief as the Court

deems appropriate, including injunctive relief and/or reinstatement to his former position.

       88.     In addition, the individual named defendants are also employers for purposes of

Chappell’s ERISA claim as they each acted directly and/or indirectly in the interest of SkyWest,

in relation to an employee benefit plan offered by SkyWest, and in retaliation against Chappell

for exercising his rights under the plan.




                                                 13
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.16 Page 14 of 19




                                 FOURTH CAUSE OF ACTION
               (Violation of Rehabilitation Act of 1973 Against Defendant SkyWest)

        89.      The preceding paragraphs are incorporated herein by reference.

        90.      The Rehabilitation Act of 1973, as amended, prohibits employment

discrimination based on disability, 281 U.S.C. §§ 791 et seq.

        91.      SkyWest receives federal financial assistance and is a covered entity under the

Rehabilitation Act under § 504 of the Act. As such, SkyWest is prohibited from discriminated

against any “qualified individual has a relationship or is associated with an individual with a

disability.”

        92.      As referenced more fully above, Chappell is and was a qualified individual who

has a relationship and/or is associated with an individual with a disability. Pursuant to 29 U.S.C.

§ 794(d), the standards used to determine whether SkyWest unlawfully discriminated against

Chappell are “the standards applied under title I of the Americans with Disabilities Act of 1990

(42 U.S.C. 12111 et seq.) and the provisions of sections 501 through 504, and 510, of the

Americans with Disabilities Act of 1990 (42 U.S.C. 12201–12204 and 12210), as such sections

relate to employment.

        93.      SkyWest violated section 504 of the Rehabilitation Act, 29 U.S.C. § 794, by

either terminating Chappell because his relationship and/or association with an individual with a

disability, perceived disability, or record of impairment, or retaliating against Chappell for

exercising his right to the employer health plan offered to him to care for his son’s disability.

        94.      Because of SkyWest’s actions, Chappell has suffered damages, including but not

limited to the loss of past and future wages and benefits, damage to his profession and career,

emotional distress, and mental pain and anguish in an amount to be proven at trial.




                                                 14
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.17 Page 15 of 19




       95.     Chappell is entitled to his reasonable attorney’s fees and costs incurred in this

matter pursuant to 29 U.S.C. § 794(a).

       96.     Chappell is also entitled to any and all relief permitted under the Rehabilitation

Act of 1973, 29 U.S.C. § 701, et. seq., including equitable relief, as proved at trial.

                               FIFTH CAUSE OF ACTION
                  (Breach of Contract – Utah Law – by Defendant SkyWest)

       97.     The preceding paragraphs are incorporated herein by reference.

       98.     The SkyWest Airlines Pilot Policy Manual formed a binding and enforceable

contract between Chappell and SkyWest.

       99.     The SkyWest Airlines Pilot Policy Manual was drafted by SkyWest and presented

to Chappell on a take-it-or-leave-it basis.

       100.    Chappell performed pursuant to the terms set forth in the SkyWest Airlines Pilot

Policy Manual.

       101.    Specifically, the SkyWest Airlines Pilot Policy Manual states that SkyWest will

only terminate a pilot’s employment for “severe infractions and/or failure to correct any

performance or behavioral issue….”

       102.    A one-time incident, even if true, does not constitute a “severe infraction.”

       103.    SkyWest breached the terms of the SkyWest Airlines Pilot Policy Manual when it

terminated Plaintiff after his conduct had been cleared by both SkyWest and the FAA.

       104.    SkyWest also breached the terms of its internal, unwritten policy when it

presented Chappell and Reber to a Review Board constituted by the same members.

       105.    Because of SkyWest’s actions, Chappell has suffered damages, including but not

limited to the loss of past and future wages and benefits, damage to his profession and career,

emotional distress, and mental pain and anguish in an amount to be proven at trial.

                                                  15
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.18 Page 16 of 19




                                 SIXTH CAUSE OF ACTION
                    (Negligence – Utah Law – Against Defendant SkyWest)

       106.    The preceding paragraphs are incorporated herein by reference.

       107.    SkyWest owed Chappell a duty of care to ensure his safety, as well as the safety

of his First Officer, the flight crew, and passengers.

       108.    SkyWest breached that duty when its grounds crew failed to immediately notify

Chappell of the alleged Occurrence.

       109.    As a result of SkyWest’s breach, Plaintiff unknowingly placed the safety of

himself, his First Officer, the flight crew, and passengers in danger.

       110.    Also, because of SkyWest’s breach, Chappell was unaware of and therefore not

able to report the Occurrence, which led to the termination of his employment.

       111.    Because of SkyWest’s actions, Chappell has suffered damages, including but not

limited to the loss of past and future wages and benefits, damage to his profession and career,

emotional distress, and mental pain and anguish in an amount to be proven at trial.

                                SEVENTH CAUSE OF ACTION
                                 (Fraud Against All Defendants)

       112.    The preceding paragraphs are incorporated herein by reference.

       113.    Reber and, on information and belief, Richard, Emerson, and SkyWest

intentionally made false statements to the Review Board to cause Chappell’s termination, after

he had been reinstated following the FAA’s determination that he was not at fault for the

Occurrence.

       114.    Reber’s false statement concerning Chappell’s knowledge of the Occurrence and

his failure to report the Occurrence concerned a presently existing material fact.

       115.    At the time Reber made the false statement to the Review Board, Reber, Emerson,



                                                 16
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.19 Page 17 of 19




Richard and SkyWest knew Reber’s statement was false or knew that he it made recklessly,

knowing that there was insufficient knowledge upon which to base such a representation.

        116.    Reber made the statement in combination with the other defendants for the

purpose of inducing the Review Board to act upon it and (6) the Review Board acting reasonably

and in ignorance of its falsity when they accepted Reber’s testimony and terminated Chappell’s

employment, inducing the Review Board to termination Chappell.

        117.    The foregoing false statements made by defendants were important and material

to the Review Board’s decision to terminate Chappell.

        118.    Defendants’ misrepresentations resulted in financial loss to Plaintiff in an amount

as proved at trial.

        119.    Defendants’ actions were also willful and malicious and manifest a knowing and

intentional indifference to and a disregard for Plaintiff’s rights, entitling Plaintiff to an award of

punitive damages in an amount determined by the trier of fact, and such other relief as allowed

by law, including attorney fees and costs incurred in bringing this action.

                                EIGHTH CAUSE OF ACTION
                  (Civil Conspiracy to Commit Fraud Against All Defendants)

        120.    The preceding paragraphs are incorporated herein by reference.

        121.    Reber’s testimony before the Review Board that Chappell was aware of the

Occurrence and that he failed to act in response to the Occurrence was false.

        122.    On information and belief, Reber’s false testimony was dictated to Reber by

Richard and/or Emerson and SkyWest.

        123.    Defendants knew that Reber’s testimony was false at the time recanted his prior

testimony and changed his story.




                                                  17
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.20 Page 18 of 19




        124.    Reber’s false testimony was intended by Reber, Richard, Emerson, and SkyWest

to mislead the Review Board and establish a false premise for the termination of Chappell’s

employment. In other words, Reber, Richard, Emerson and SkyWest had a meeting of the minds

concerning their planned course of conduct against Chappell and the false information they

submitted to the Review Board to cause Chappell’s termination.

        125.    Defendants took one or more over acts in furtherance of their conspiracy against

Chappell, as more fully alleged above, including inducing and changing Reber’s testimony and

submitting such false testimony to the Review Board.

        126.    The Review Board relied on Reber’s false testimony and recommended the

termination of Chappell’s employment over Chappell’s objection that the testimony was false.

        127.     As a proximate result of actions of Reber, Richard, Emerson, and SkyWest,

Chappell has suffered damages, including but not limited to the loss of past and future wages and

benefits, damage to his profession and career, emotional distress, and mental pain and anguish,

attorney fees and costs, in an amount to be proved at trial.

                                        JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, Chappell demands a trial by jury an all issues that are

triable by a jury.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Randy Chappell, prays for judgment against Defendants, as

follows:

        a.      For a judgment in Chappell’s favor and against Defendants, as applicable, for

violations of the ADA, ADEA, ERISA, and Rehabilitation Act, as well as his state law claims;




                                                 18
Case 4:21-cv-00083-DN-PK Document 2 Filed 08/11/21 PageID.21 Page 19 of 19




        b.      For an order awarding Chappell all lost wages and benefits, compensation and

other pecuniary damages caused by Defendants’ actions and omissions, including back pay and

reinstatement (or front pay in lieu reinstatement, as applicable), and other pecuniary damages

recoverable under relevant law, in an amount to be determined at trial;

        c.      For an order awarding Chappell compensatory damages, including non-pecuniary

damages for emotional distress, pain and suffering, humiliation and loss of professional

reputation and career, in an amount to be determined at trial;

        d.      For an order awarding Chappell pre- and post-judgment interest as applicable;

        e.      For an order awarding Chappell his attorney’s fees and costs of suit, including

expert witness fees, incurred in bringing this action, as applicable;

        f.      For an order awarding Chappell punitive damages in an amount to be determined

at trial; and

        g.      For an order awarding such further and additional relief as the Court deems

appropriate.

        DATED this 10th day of August, 2021.



                                                       /s/ Andrew W. Stavros
                                                      Andrew W. Stavros
                                                      STAVROS LAW P.C.
                                                      Attorney for Plaintiff




                                                 19
